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IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DisTRicT oF TENi\iEs§§E“J5 33 33 3= 3"

  

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BRENDA HAYES, )
)
)
Plaintiff, )
)

VS. ) No. 04-1217 T

)
JO ANN B. BARNHART, )
Commissioner Of Social Security , )
)
)
Defendant. )
)

 

ORDER REVERSING COMMISSIONER'S DECISION

 

Plaintiff, Brenda Hayes, filed this action to obtain judicial review of the Defendant
Commissioner's final decision denying her application for disability insurance benefits
under Title II of the Act, 42 U.S.C. §§ 410 et seq and supplemental security income (“SSI”)
benefits based on disability under Title XVI ofthe Act, 42 U.S.C. §§ 1381 etseq. (R. at 81-
83.) Plaintiff’ s applications for benefits, filed on February 1 l, 2002, Were denied initially
and on reconsiderationl At Plaintiff’s request, a hearing Was held before an administrative
law judge (“ALJ”), on August 6, 2003. On February 10, 2004, the ALJ issued a final
decision finding that Plaintiffvvas not disabled, and the Appeals Council denied Plaintiff’s

request for review. Plaintiff filed the present action on Febi'uary 4, 2005 , seeking reversal

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of the Commissioner’s decision on the grounds that it is not supported by substantial
evidence in the record. The Commissioner contends that the decision is supported by
substantial evidence. For the reasons set forth below, the Commissioner’s decision to deny

Plaintift`s application for disability benefits is REVERSED.

Standard of Review
Judicial review in this court is limited to determining whether or not there is
substantial evidence in the record as a whole to support the Secretary's decision, 42 U.S.C.

§§ 405(g), 1383(c)(3); see Garcia v. Secretai'v ofHealth and Human Serv., 46 F.3d 553, 555

 

(6th Cir. 1995) (citing Richardson v. Perales, 402 U.S. 389, 401 (1971)); Stanley v.
Secretai'y of Health and Human Serv., 39 F.3d 115, 1 17 (6th Cir. 1994), and whether the
correct legal standards were applied See Cutlip v. Secretarv of Health and Human Serv.,
25 F.3d 284, 286 (6th Cir. 1994) (citing B_r_alg, 402 U.S. at 401). Substantial evidence is
evidence that a reasonable mind would accept as adequate to support a conclusion gee

Perales, 402 U.S. at 401; Garcia, 46 F.3d at 555; Stanley, 39 F.3d at l 17; Cutlip, 25 F.3d at

 

286. The reviewing court may not resolve conflicts in the evidence nor decide questions of
credibility §€_Q MQ, 25 F.3d at 286; Gamer v. Heckler, 745 F.2d 383, 387 (6th Cir.
1984). In addition, if the decision is supported by substantial evidence, it should not be
reversed even ifsubstantial evidence also supports the opposite conclusion Smitli v. Chater,

99 F.3d 780, 782 (6“1 Cir. 1996) (citing Cutlip, 25 F.3d at 286).

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Facts

 

Plaintiff is a forty-nine year old female with a GED (high school equivalency degree),
who alleges disability beginning November 29, 2001, primarily due to a ruptured disc, three
bulging discs, and two deteriorating discs in her back. (R. at 83b.) Her past relevant work
experience includes jobs as an assembly line worker, a waitress, a parking lot cleaner, and
a caretaker for the elderly. (R. at 830.)

In October of 1997, Plaintiffwas examined at Pathways, Inc. by Pam Henson, M.S.,
NCC Counselor. This evaluation was the earliest date that Plaintiff s back pain was noted
in the record as a current problem. (R. 382.) In December of 2001, Plaintiff Was evaluated
by Mark A. Jones, M.D., a radiologist, whose report indicated Plaintiff‘s clinical history of
back and right hip pain was evidenced in an MRI by disc bulging and disc extrusion. (R. at
139.) In March of 2002, John R. Lindermuth, M.D., performed surgery on Plaintiff to
remove her ruptured disc and stabilize her backbone. (R. at 158-59.)

In May of 2002, Plaintiff was seen by Grafton H. Thurman, M.D. Plaintiff
complained of lower back pain with no significant improvement since back surgery two
months earlier. Dr. Thurman asserted that Plaintiff has had back trouble for ten years and
that Plaintiff “is very consistent,” in constantly getting up and down due to her back pain,
and refraining from sitting for very long. (R. at 185.) Dr. Thurman opined that Plaintiff
tends to drag her left leg due to pain that is referred to her back when she moves her left

hip. Dr. Thurman observed Plainti ff getting on and off the examining table “very slowly,

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very stiffly, and very painfully.” (R. at 186) Dr. Thurman also opined that Plaintiff was
limited to lifting ten pounds occasionally, less than ten pounds frequently, standing at least
two out of eight hours, and sitting for a total of six out of eight hours. (R. at 189-90.)

Plaintiff`s file was evaluated by two state agency doctors. The first evaluation was
completed on June 27, 2002, by Saul A. Juliao, M.D. This evaluation did not refer to
Plaintiff’ s current conditions; it was an assessment of Plaintiff’ s projected conditions twelve
months after the onset date of November, 2002. This first evaluation projected residual
functioning capacity so that Plaintiff, by November, 2002, would hopefully be able to lift
twenty pounds occasionally, ten pounds frequently, stand six out of eight hours, sit six out
of eight hours, and have unlimited capacity to push or pull. lt was projected that Plaintiff
would have to avoid concentrated exposure to “extreme cold, extreme heat, vibration, and
fumes, odors, dusts, gases, poor ventilation, etc....” This would allow Plaintiff to perform
light level work. (R. at 214-21.)

On November 8, 2002, one year after the onset date, Plaintiff s file was evaluated by
the second state agency doctor, lames N. Moore, M.D., to determine her current residual
functioning capacity. Plaintiff had not gained residual functioning capacity in all the above
listed categories that would enable her to perform light level work, as predicted in the June
27, 2002 state agency report. Instead, the report stated Plaintiff was limited to lifting ten
pounds occasionally, lifting ten pounds frequently, standing three out of eight hours, and

sitting six out of eight hours. In this second agency report, Plaintiff was only instructed to

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avoid concentrated exposure to “fumes, odors, dusts, gases, poor ventilation, etc....” This
would limit Plaintiff to sedentary work. (R. at 222-29.)

In October of 2002, Plaintiff was evaluated by Karen Davidson, M .D., her treating
physician, who opined that Plaintiff continued to have chronic lower back pain and, as a
result, could not return to her previous job that required a lot of lifting. (R. at 281.)

On August 6, 2003, Plaintiff testified at an administrative hearing before ALJ
Sheldon P. Zisook. Plaintiff testified that even after back surgery, she continues to have
ongoing pain and cannot bend or stoop. (R. at 48.) Plaintiff stated that she takes various
medications for back pain, heart problems, panic attacks, and respiratory problems (R. at
49-52.) Plaintiff contends that despite the medications, she continues to have pain if she sits
or lies in bed for too long. (R. at 55). Plaintiff also stated that she has difficulty walking, she
can no longer go to the store by herself, she is currently only able to do light housework, and
that her daughter has to help her around the house. (R. at 53-54.)

On February 10, 2004, the ALJ determined that Plaintiff was not disabled ln
particular, ALJ Zisook found that: (l) Plaintiff meets the non~disability requirements for a
period of disability and Disability Insurance Benefits set forth in Section 216(i) of the Social
Security Act and is insured for benefits through December 31 , 2006; (2) Plaintiff has not
engaged in substantial gainful activity since the alleged onset of disability; (3) Plaintiff`s
history of herniated disc, status post laminectomy, history of carpal tunnel syndrome, status

post release surgery, hypertension, hypercholesterolemia, posttraumatic stress disorder and

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generalized anxiety disorder are considered “severe” based on the requirements in the
Regulations 20 CFR §§ 404.1520(0) and 416.920(b); (4) Plaintiff’s medically determinable
impairments do not meet or medically equal one of the listed impairments iri Appendix l,
Subpart P, Regulation No. 4; (5) Plaintiff”s allegations regarding her limitations are not
totally credible; (6) Plaintiff remains capable of lifting twenty pounds occasionally, and ten
pounds frequently, standing, walking and sitting for six hours in an eight-hour workday.
Mentally, despite the limitations imposed by her generalized anxiety disorder and
posttraumatic stress disorder, Plaintiff remains capable of performing unskilled work
activity; (7) Plaintiff is unable to perform any of her past relevant work as defined in 20 CFR
§§ 404.1565 and 4l 6.965; (8) Plaintiffis “a younger individual between the ages of45 and
49" as defined in 20 CFR §§ 404.1563 and 416.963; (9) Plaintiff has a “high school
equivalent education” as defined in 20 CFR §§ 404.1564 and 416.964; (10) Plaintiffhas no
transferable skills from any past relevant work as defined in 20 CFR §§ 404.1563 and
416.968; (l l) Plaintiffhas the residual functional capacity to perform a significant range of
light work as defined in 20 CFR §§ 404.1567 and 416.967; (12) although Plaintiff’s
exertional limitations do not allow her to perform the full range of light work, using
l\/Iedical-Vocational Rule 202.21 and Social Security Ruling 85-15 as a framework for
decision-making, there are a significant number of jobs iii the national economy that she
could perforrn; (13) Plaintiff’s capacity for light work is substantially intact and has not been

compromised by any nonexertional limitations, and using the above-cited rules as a

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framework for decision-making, Plaintiff is not disabled; and (14) Plaintiff was not under
a “disability” at any time through the date ofthis decision, as defined by the Social Security

Aa in 20 CFR §§ 404.1520(i) and 416.920(9. (R. at 30-31.)

Analysis

The Social Security Act defines disability as the inability to engage in substantial
gainful activity due to a “physical or mental impairment which can be expected to result in
death or which has lasted or can be expected to last for a continuous period of not less than
12 months.” 42 U.S.C. § 423(d)(l)(A), § l382c(a)(3)(A). The initial burden of going
forward is on the claimant to show that he is disabled from engaging in his former
employment; the burden then shifts to the Commissioner to demonstrate the existence of
available employment compatible with the claimant’s disability and background 42 U.S.C.
§§ 423, 1382c; see Felisky v. Bowen, 35 F.?)d 1027, 1035 (6th Cir. 1994). The claimant
bears the ultimate burden of establishing an entitlement to benefits Cotton v. Sullivan, 2
F.3d 692, 695 (6th Cir. 1993).

In determining disability, the Commissioner conducts a five-step sequential analysis,

as set forth in 20 C.F.R. § 404.1520 and § 416.920:

1. An individual who is engaging in substantial gainful activity will not
be found to be disabled regardless of medical findings

2. An individual who does not have a severe impairment will not be
found to be disabled

3. A finding of disability will be made without consideration of

vocational factors if an individual is not working and is suffering from

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a severe impairment which meets the duration requirement and which
meets or equals a listed impairment found in 20 C.F.R. Part 404,
Subpart. P, Appendix 1.

4. An individual Who can perform work that he has done in the past will
not be found to be disabled
5. If an individual cannot perform his past relevant work, other factors

including age, education, past work experience, and residual functional
capacity will be considered to determine if other work can be
performed
Further analysis is unnecessary if it is determined that an individual is not disabled at any
point in this sequential evaluation process 20 C.F.R. §§ 404.1520(a), 416.920(a); @gg_v_.
S_iilw, 987 F.2d 328, 331 (6th Cir. 1989). ln this case, analysis proceeded to the last step,
where the ALJ found that Plaintiff is not disabled because she has the residual functional
capacity to perform a significant number of j obs requiring light work.l
The dispute in this case involves the ALJ’s potential misuse of a state agency
evaluation as evidence in reaching the conclusion that Plaintiff has the residual functional
capacity to perform light work. Plaintiff contends that the ALJ erred in using the first state

agency evaluation as evidence of Plaintiff"s current condition This first report only stated

that Plaintiff' s projected residual functional capacity was predicted to be for light level work

 

1 The regulations define light Work as requiring:

lifting no more than 20 pounds at a time with frequent lifting or carrying of objections weighing

up to 10 pounds Even though the weight lifted may be very little, a job is in this category when

it requires a good deal of walking or standing, or when it involves sitting most of the time with some

pushing and pulling of arm or leg controls To be considered capable of performing a full or wide
range of light work, you must have the ability to do substantially all of these activities If someone
can do light work, we determine that he or she can also do sedentary work, unless there are additional
limiting factors such as loss of fine dexterity or inability to sit for long periods of time.

20 C.F.R. § 404.1567(1:)), § 416.967 (1998).

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at a future date, twelve months after the onset of her condition. Plaintiff argues the ALJ
should have relied on the second state agency evaluation that reported Plaintiff` s current
residual functional capacity twelve months after the onset date was only for sedentary work.
Plaintiff also claims that aside from the failure of the first agency report to support ALl’s
finding that Plaintiff can perform light level work, there is not substantial evidence to
support the ALJ ’s decision. In addition, Plaintiff contends the ALJ improperly discredited
Dr. Thurman’s examining report. The court must determine if there is substantial evidence
in the record to support the ALJ ’s decision.
1. ALJ’s Use of Doctor’s Evaluations to Support Finding of No Disability

ln reversing the ALJ’s decision, the Court finds that the ALJ misused a report made
by a state agency doctor as evidence in support of ALJ’s findings that Plaintiff “remains
capable” of lifting twenty pounds occasionally... and has the residual functional capacity to
perform light level work. (R. at 30.) Plaintiff"s file was evaluated by two state agency
doctors Dr. Juliao predicted that Plaintiff’s residual functional capacity one year from her
onset date (about four months from the date Plaintiff’ s file was evaluated) would be for light
level work. However, Dr. Moore evaluated Plaintiff’ s current residual functional capacity,
at the one year anniversary from her onset date, and concluded that Plaintiff was limited to
sedentary work. (R. at 214-29.) Instead of relying on the current evaluation that Dr. l\/[oore
completed, the ALJ used Dr. Juliao’s prediction of Plaintiff" s residual functional capacity,

accepted it as her current status, and discredited Dr. Moore’s opinion by stating that there

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was no new evidence in the record after Dr. Juliao evaluated the Plaintiff"s file. (R. at 27-
28.) Therefore, the ALJ’s decision is reversed because the Court finds that the ALJ misused
a state agency doctor’s evaluation of a predicted status by accepting it as a current status
2. Treating Physician Rule

The opinion of a treating physician must be given great weight when it is supported
by sufficient medical evidence w 20 C.F.R. § 404.1527(d)(2). Under the treating
physician rule, opinions of physicians who have treated the plaintiff receive controlling
weight if they are “well-supported by medically acceptable clinical and laboratory diagnostic
techniques,” and “not inconsistent with the other substantial evidence in [the] case record.”
l_d The ALJ may reject opinions that are not supported by the medical findings and resolve
conflicts in the evidence _SQEMS_, 127 F.3d at 529-30; Mp, 25 F.3d at 286-87; Mgl§
v. Sullivan, 998 F.2d 342, 347-48 (6th Cir. 1992); Cohen v. Secretarv of Health & Human
M, 964 F.2d 524, 528 (6‘h Cir. 1992); Young v. Secretarv of Health and Human Serv.,
925 F.2d 146, 151 (6“‘ Cir. 1990); Hall v. Bowen, 837 F.2d 272, 276 (6"‘ Cir. 1988);
Hardawav v. Secretarv ofHealth & Human Servs., 823 F.2d 922, 927 (6th Cir. 1987). If the
adjudicator finds that a treating physicians’ conclusion is not Well-supported by medically
acceptable clinical and laboratory diagnostic techniques or is inconsistent with other
substantial evidence in the medical record, he is required to apply the following factors in
determining how much weight to give a treating physician: “the length of the treatment

relationship and frequency of the examination, the nature and extent of the treatment

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relationship, supportability of the opinion with the record as a whole, and the specialization
ofthe treating source....” Wilson v. Comm’r of Soc. Sec., 378 F.3d 541, 544 (6th Cir. 2004)
(citing 20 C.F.R. § 404.1527(d)(2)).

In the present case, the ALJ dismissed the opinion of Dr. Thurman, a government
consultant who physically examined Plaintiff and opined that she was limited to sedentary
work, because “he examined the claimant only two months out of back surgery.” Dr.
Thurman’s evaluation was dismissed, and the opinion of a state agency medical consultant
who did not examine Plaintiff was given controlling weight. (R. at 27.) The ALJ did not
reject Dr. Thurman’s opinion on the basis of contradictory or other medical evidence, but
because “it seems reasonable to assume that the claimant would be much more limited in her
ability to perform work related activities right after major surgery.” (R, at 27.)

The Court finds that the ALJ cannot substitute his assumption for medical evidence
Because the opinion of Dr. Thurman is well-supported by medically acceptable clinical and
laboratory diagnostic techniques and is not inconsistent with other substantial evidence in
the record, the ALJ should have given a physician who examined Plaintiff controlling
weight over the ALJ’s own assumptions Consequentially, the Court finds that the ALJ
erroneously rejected Dr. Thurman’s opinion.

3. Plaintiff s Subjective Complaints of Pain
Plaintiff also maintains that nothing else in the record, including her testimony,

supports the ALJ’s factual finding that Plaintiff can perform light work activity. The court

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must evaluate the ALJ's findings with regard to pain in light of applicable case law and
Social Security Ruling ("SSR") 88-13. SSR 88-13 requires more than mere allegations of
pain. The objective medical evidence must confirm an underlying impairment and the
severity of the alleged symptoms, or establish that the impairment is of a severity that could
reasonably give rise to the alleged symptoms See Blacha v. Secretarv of Health and Human
w_., 927 F.2d 228, 230 (6th Cir. 1990); Duncan v. Secretarv ofHealth and Human Serv.,
801 F.2d 847, 852-54 (6th Cir. 1986). In addition, when a claimant alleges fully disabling
pain, the "ALJ may distrust [the] claimant's allegations . . . if the subjective allegations the
ALJ's personal observations and the objective medical evidence contradict each other."
Moon v. Sullivan, 923 F.2d 1175, 1182-83 (6th Cir. 1990).

On August 6, 2003, Plaintiff testified at an administrative hearing before ALJ
Zisook. Plaintiff testified that even after back surgery, she continues to have ongoing pain
and cannot bend or stoop. (R. at 48.) Plaintiff stated that she takes various medications for
back pain, heart problems, panic attacks, and respiratory problems (R. at 49-52.) Plaintiff
contends that despite the medications, she continues to have pain if she sits or lies in bed for
too long. (R. at 55.) Plaintiff also stated that she has difficulty walking, she can no longer
go to the store by herself, she is currently only able to do light housework, and that her
daughter has to help her around the house (R. at 53-54.)

ln discrediting Plaintiff’ S subjective complaints of pain, the ALJ found her not to be

credible because of “inconsistencies.” As evidence of this, the ALJ stated that Plaintiff’s

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reported abilities to shop, go to the movies and attend church services were inconsistent
with her alleged functional limitations (R. at 25.) However, when Plaintiff referred to her
ability to shop alone, go to the movies and attend church services in their entirety, she was
referring to her ability prior to the onset of her back condition, not her current ability to
perform these activities (R. at 53-61.) ln addition, after Plaintiff`s surgery, her treating
physician opined that she was not “cured” from the surgery, and noted in the medical report
that when Plaintiff attempted to go to Wal-Mart, she had back pain. (R. at 237.)

When taking into account the nature of Plaintiff’ s injury, the length of time that she
has been treated, and the amount of medical evidence supporting her contention that she has
back pain and is unable to perform light work, there is substantial objective evidence in the
record to support Plaintiff’ s claim. For the foregoing reasons, the Court finds that the ALJ

misinterpreted Plaintiff’ s subjective complaints of pain.

Conclusion
The Court concludes that there is not substantial evidence in the record to support the
ALJ's decision that Plaintiff is not disabled Therefore, the Commissioner’s decision is
hereby REVERSED, and disability insurance benefits, and supplemental security income
benefits are awarded based on Plaintiff s application of February 11, 2002. The Clerk of

Court is directed to prepare a judgment accordingly

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lT IS SO ORDERED.

C:Si/WB'M

JAMQSD. TODD

UNITED STATES DISTRICT IUDGE

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DATE

 

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This notice confirms a copy of the document docketed as number 23 in
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Honorable .l ames Todd
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